1 A. ANDREW OBEIDY, ESQ. (FBN 910341)

2 oBEu)Y & ASSoCIATES, P. A

2755 E. Oakland Park B]Vd, Suite 225

3 Fort Lauderdale, Florida 33306

Telephone:
Andrew@obdlegal.com

(305) 892-5454

Ceise 9:18-cv-81229-DI\/|I\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 1 of

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F FLORIDA, WEST PALM BEACH DIVISION

 

10

11

12

13

14

15

16

17

18

19

20

21

 

TATIANA KOLOSOVA, an individual

Plaintiff`,

VS.

OFFICE D`EPOT, a, Delaware corporation
MCKYNSEY AND COMPANY USA, a
Delaware Corporation, GERRY SMITH, an
individual, LUKANA .TUSTIN, an
individual,

Defendants.

 

CASE NO:
COMPLAINT FOR DAMAGES

l. Whistlebiower Rctaliation in Violation of
Sarbanes-Oxley Act - As against Oi`flce
Depot

2. Violation of the Florida Whistleblower Act -
As against Off"tce Dcpot

3. Deceit _ As against Off"lce Depot

4_ Negligent Misreptescntation - As against
Off'lce Depot

5. FEDUPTA _ as against McKinsey

6. Tortious Interference with at will
Employnient - as against Justin

7. Tortious Interference with at Will
Employment - as against Smith

8. IIED - As against Office Depot

JURY TRIAL DEMANDED

 

 

22

23

24

25

26

27

28

 

 

-]0f3l-

OBEIDY & ASSOCIA'i`ES, P. A.

Kolosova v. Oi`fice Depot et a].
COMT’I,ATNT FOR DAMAGES

 

48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

ase 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 2 of

PRELIMINARY ALLEGATION S

(Parties)

Plaintiff Tatiana Kolosova (hereinafter “Plaintift"`) is, and at all times material hereto
was, an individual residing in the Palm Beach County, state of Florida‘

Plaintiff alleges Defendant Oft`ice Depot, Inc. (“Defendant Office Depot”, hereinafter)
is, and at all times relevant hereto was, a Delaware Corporation, authorized to do
business and doing business in Palm Beach County, F lori da.

Plaintift` alleges Defendant McKinsey and Company USA, Inc. (“Defendant McKinsey
& Company”, hereinafter) is, and at all times relevant hereto wasJ a Delaware
Corporation, authorized to do business and doing business in Palm Beach County,
Florida.

Plaintiff alleges Gerry Smith1 Chief Executive Oft'icer at Det`endant Of`t`lce Depot,
(“Defendant Smith”, hereinafter) is, and at all times relevant hereto was, an individual
residing in Palm Beach County, Florida.

Plaintiff alleges Lukana ]ustin, Vice President of Marketing at Defendant Office Depot,
(“Defendant Justin”, hereinafter) is, and at all times relevant hereto wasJ an individual
residing in Palm Beach County, Florida.

(Venue)

The contracts alleged herein were entered into in the county of Palm Beach, state of
Florida, and the acts and transactions herein alleged took place in the county of Palm
Beach, state of Florida.

(Jurisdiction)
This is an action involving a federal question arising under Corporate Responsibility Act

of 2002, commonly known as the Sarbanes-Oxley Act of 2002

- 2 of3l -
OBE[DY & ASSOClA'l`ES, l’. A.

Kolosova v. Ot`iice Depot et al.
COMPLAINT FOR DAMAGES

 

48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

10.

ll.

l2.

l3.

Se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 3 ot 48

(General Allegations)
Plaintiff is a highly accomplished statistician and software engineer with approximately
thirty years’ experience in statistical modeling, forecasting, and computer software
development
Plaintiff published over a dozen papers and reports in scientific magazines and
International conferences Plaintiff co-authored 2 books published by SAS Institute in
1995 and 1998. One of her books on statistics is used in more than 20 universities

globally_

Plaintiff was offered a position at and began work for Defendant Office Depot as Lead

Data Scientist on May 8, 2017.

As part of her assigned duties at the company, Plaintiff learned that one of the company

vendors, Defendant McKinsey & Company was hired to develop statistical predictive

models that would be used in marketing campaigns to target Office Depot customers

who have high propensity to buy Office Depot’s products Defendant M.cKinsey &

Company was also hired to develop predictive models for creating personalized offers

for individual customers and to calculate customer life values for the purposes of

engaging in marketing campaigns

lnstead Defendant l\/chinsey & Company provided the company with predictive models

that were nonsensical

The predictive models were nonsensical because:

a) Defendant l\/chinsey & Company developed the regression models in which the
regressors (explanatory variables) were not Statistically independentl The regressors
correlated with one another to a higher degree than they correlated with the

dependent variable This violated fundamentals of the regression method and these

- 3 of3l f
OBEIDY & ASSOCIATES, P. A.

Kolosova v. Office Dcpot et al.
COMPLATNT FOR DAMAGES

 

CE

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

b)

d)

Se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 4 01

violations led to false and misleading results

To estimate regression coefficients, Defendant McKinsey & Company used data
that contained negative sales, missing values and questionable large sales values

Mandatory data cleansing was not performed

Defendant McKinsey & Company copied the same simple computer program
multiple times and changed the name of a dependent variable claiming they
developed a new predictive model_ The computer program code the vendor used can

be easily copied from a basic and introductory statistical modeling textbook.

In the predictive models Defendant McKinsey & Company used independent
variables The variables used included total sales for the first quarter of a year, total
sales for the first half of a year and the total sales for entire year. In so doing,
Defendant McKinsey & Company inflated total sales for a year by counting sales for
the first quarter three times1 and sales for the second quarter twice. The independent
variables the vendor used were thus dependent and correlated This too violated
fundamental principle of the regression method and this violation led to false and
misleading results

Plaintiff performed a test of the quality of prediction of Defendant McKinsey &
Company models Plaintiff built a miss-classification table which is the “gold
standard” for testing the quality of predictive models She used the same data that
was used by Defendant McKinsey & Company to estimate coefficients of the

predictive model Results show that out of 13,772 customers who made a purchase

- 4 ol`3l f
OBE]DY & ASSOCLATES, P. A.

Kolosova v. Ol`f`ice Depot et al.
COMPLAINT liOR I)AMAGES

 

48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

14.

15.

16.

17.

18.

ase 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 5 ot 48

in the company stores Defendant McKinsey & Company predicted only 2 customers

On l\/lay 22, 2017, during a face-to-face meeting with Defendant McKinsey &
Company representative Steven Clark, Plaintiff complained about models that were
being used and raised the above questions Mr. Clark responded by laughing at
Plaintiff He did not make any attempt to explain any of her questions or dispute any
of her findings

Plaintiff determined that Defendant McKinsey & Company had billed Office Depot
two million dollars (32,000,000) annually plus travel expenses and more than fourteen
million dollars ($14,000,000.00) from January 2011 through October 2017 for work
they did not actually perform

After checking and double checking her findings regarding the Defendant McKinsey
& Company statistical work, Plaintiff reported her findings to Defendant Office Depot
Director Mr. Ranjith Chelasani, Plaintiff’ s direct supervisor, and to Defendant Office
Depot Sr. Director Mr. Slava Sambu. Plaintiff requested Mr. Chelasani and Mr.
Sambu report the fraud to the company General Counsel and to stop immediately
using all predictive models developed by the Defendant McKinsey & Company.

Mr. Chelasani and Mr. Sambu attempted to cover up the fraudulent statistical work
claiming the evidence Plaintiff had brought them was not convincing and that they
could not inform management or the team members that the work Defendant
l\/chinsey & Company had tendered to the company was wrong

On June 14, 2017 at 12: 14 AM, Plaintiff reported Defendant McKinsey & Company’s
fraud statistical work directly to Defendant Office Depot’s CEO, Mr. Gerry Smith in

an e-mail. (See Email to Smith Attached hereto as Exhibit A). That morning at 10:47

_ 5 01‘31 -
oBEiDY a AssociArizs P. A.

Kolosova v. Office Depot et al.
COMPLALN'[ FOR DAMAGES

 

Cape 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 6 of 48

1 AM, Smith responded asking his assistant to set up a meeting with Plaintiff (See

2 Response Email Attached hereto as Exhibit A)_

3 19. On lune 19, 2017 Plaintiff met with Defendant Office Depot CEO Smith in his office

4 and presented him with her findings of the vendor fraud by Defendant McKinsey &

5 Company Defendant Office Depot CEO Smith reviewed the findings during the

6 meeting and concluded aloud that Defendant McKinsey & Company was engaging in
7

fraud CEO Smith then asked Plaintiff if she had presented her findings to her

managers and how they responded

20. Plaintiff informed Defendant Offi ce Depot CEO Smith that her warnings were

l 0 completely ignored, and that Defendant Office Depot was continuing to use the

: corrupt and fraudulent predictive models in multi-million dollars marketing

13 campaigns resulting in immense financial damages to the company Plaintiff then

14 confirmed that her direct supervisor’s refusal was documented in e-mails to Defendant
15 Office Depot CEO Smith. Defendant Office Depot CEO Smith then called Defendant
16 Office Depot Chief Administrative Offi cer (CAO) Mr. Michael Allison to join the

17 meeting

13 21. While waiting for Mr. Allison to join the meeting, Defendant Office Depot CEO Smith

19 reviewed the correspondence between Plaintiff and her managers in regards to the

20 vendor fraud In the midst of reading the e-mails Defendant Office Depot CEO Smith
21 exclaimed, “this blows my mind” and then clearly stated he would'deinand that the

22 Defendant l\/chinsey & Company reimburse Defendant Office Depot.

23 22. When Mr. Allison arrived Defendant Office Depot CEO briefed him on Plaintiff s

24 findings and on the response by her managers Defendant Office Depot CEO showed
25 Mr. Allison the absurdity of Defendant McKinsey & Company’s predictive models

2 6

27 - 6 of 31 _

2 a OBEIDY & AssOCIATizs, P. A.

Kolosova v. Office Depot et alA
COMPLAIN'[` FOR l)AM/\GES

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

23.

24.

25.

26.

27.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 7 01

including but not limited to the wrongful use of the same variables multiple times
Defendant Offi ce Depot CEO then asked Mr. Allison to protect Plaintiff from any
retaliation Mr. Allison agreed, stating that he believed that the cover up is worse than
fraud itself Mr. Allison asked Plaintiff to bring him all the materials for his evaluation
in order to make a decision about next steps

On June 20_, 2017, Plaintiff tendered all the evidence she had gathered to Mr. Allison
including email correspondences and the critical portions of the model development
work performed by Defendant McKinsey & Company demonstrating fraudulent
programing/modeling.

During the same week that Plaintiff reported her findings to Defendant Office Depot
CEO, Mr. Chelasani and Mr. Sambu requested from Plaintiff to prepare a presentation
for SVP of Marketing l\/ls. Diane Nick about current state of predictive modeling
Importantly, Mr. Sambu specifically ordered Plaintiff to lie about the findings
claiming that there were “some minor concems” with predictive model s, instead of
calling out the fraud and abuse

Plaintiff refused to take part in any conspiracy to defraud Office Depot’s investors
(See l\/Ionday June 27, 2017 4:26 pm e-mail attached hereto as Exhibit B).
RemarkablyJ Mr. Sambu and Mr. Chelasani retaliated against Plaintiff by assigning
her the impossible task of single-handedly developing a replacement model for the
fraudulent predictive models - a task that typically requires several individuals
working for months When Plaintiff protested the adverse assignment, Mr. Sambu
and Mr. Chelasani chastised Plaintiff claiming that she was not doing job.

On June 30, 2017 Plaintiff was asked to attend a meeting with Mr. Allison and Ms_

Nick. At the meeting Plaintiff explained her findings of Defendant McKinsey &

- 7 of`3l -
OBF.IDY & ASSOCIA']`L"S, l’. A.

Kolosova v. Ot`lice Depot et al.
COMPLAINT FOR DAMAGES

 

91

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

28.

29.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 8 01

Company’s fraud to Mr. Allison and Ms Nick_ During the meeting Mr. Allison and
Ms Nick decided that Plaintiff would perform a full investigation of the Defendant
McKinsey & Company The investigation would date back to the onset of the

relationship with Defendant McKinsey & Company_

Plaintiff immediately began the investigation She successfully gathered all
available agreementsj Statements of Work (SOWS), and invoices paid to Defendant
McKinsey & Company She reviewed the computer programs developed by
Defendant McKinsey & Company_ She immediately confirmed from the documents

and the models that Defendant McKinsey & Company was engaging in fraudulent

conduct

On July 10, 2017 after completing the investigation Plaintiff was tasked to undertake
by Mr. Allison, Plaintiff presented the results of her investigation to Ms. Nick.

Plaintiff’ s investigation yielded the following results

a. Defendant l\/chinsey & Company provided services to the company from 2011
through September 2017.

b. ln 2013 and 2014 Defendant McKinsey & Company did not submit a Scope of
Work and submitted invoices that lacked any details or itemization

c. Deliverables in two Scopes of Work for 2015 and a Scope of Work for 2016 were
identicall

d. ln 2017 Defendant McKinsey & Company did not submit a Scope of Work and
submitted invoices that lacked any details or itemization

e. The predictive models that the vendor delivered were fraudulent and wrong

~ 8 of31 -
OBF.IDY & ASSOCLATES, P. A.

Kolosova v1 Office Depot et al.
COMPI..AIN'I` FOR DAMAGES

 

48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

30.

31.

32.

Se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 9 of

f. The vendor was paid almost $14,000,000 for work it did not perform

g Defendant Office Depot continued to use the fraudulent models after Plaintiff
blew the whistle to CEO Smith about the fraud perpetrated by Defendant
McKinsey & Company

On July 11, 2017 one day after Plaintiff shared her finding with Ms. Nick, Ms Nick
stripped Plaintiff of all of her responsibilities as a Lead Data Scientist. Ms. Nick
excluded Plaintiff from the modeling team. Ms. Nick also required Plaintiff to report
directly to her and forced her to move closer to Ms. Nick offices so that Ms Nick could
see what Plaintiff was doing and who she was meeting with on a daily basis

On July 14, 2017 Plaintiff met with Mr. Allison and shared the findings of her
investigation Plaintiff detailed the retaliation she was subjected to by Ms. Nick to Mr.
Allison. Plaintiff explained that Defendant McKinsey & Company’s fraud was very easy
to identify and it was almost impossible for Office Depot’s marketing team to not have
discovered the fraud that was being perpetuated for more than six (6) years Plaintiff then
inquired into the possibility that SVP Marketing Ms Nick was covering up the vendor
fraud_ Mr. Allison responded that he believed that Ms. Nick was “in it”. He informed
Plaintiff that he was taking over the matter and that although it might take him some time
to resolve the issue he wanted Plaintiff “not to go anywhere”_

On July 17, 2017 as per Mr. Allison’s request, Plaintiff informed Mr. Allison via e-mail
that nothing was being done to stop the use of Defendant McKinsey & Company’s
fraudulent and wrong predictive models (See July 17, 2017 e-mail attached hereto as

Exhibit C.)

Two days later, on July 19, 2017 during a one on one meeting with Ms Nick, Plaintiff

- 9 of 31 -
OBEIDY &. ASSOClA'fl:`S, P. A.

Kolosova v. Office Depot et al.
COMPLAINT FOR DAMAGES

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

34.

35.

36

37.

39.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 10 o

was threatened with termination Ms Nick demanded that Plaintiff stop reporting that
nothing was being done to stop the use of the fraudulent models developed by Defendant
McKinsey & Company Ms. Nick told Plaintiff that Plaintiff could not “live here and
complain that nothing was being done_ _ .. Otherwi se it will be a problem”.

Ms Nick ordered Plaintiff to not report what was happening with respect to Defendant
l\/[cKinsey & Company to CAO Mr. Allison; an order that directly contradicted the orders
Mr. Allison had given Plaintiff At the same meeting, Ms. Nick demanded Plaintiff
develop a future-looking plan for predictive modeling and marketing analytics.

Plaintiff worked diligently and came up with a solid plan for creating predictive models
and marketing analysis Plaintiff tendered the plan to l\/Is_ Nick later that same evening
Two days later, on July 21, 2017 Plaintiff met with Ms_ Nick to discuss her proposal
Although Ms. Nick said that the proposals were “n`ght on point”, she stated that there
were no funds to implement this plan Plaintiff stated that she could implement the plan
by herself, but cautioned it would take more time if she did it on her own

l\/Is Nick stonewalled ordering Plaintiff not to perform the suggested corrective tasks
lnstead, Ms_ Nick stated that Plaintiff should only engage in hiring people who “will help
[Plaintiff] think.” Ms. Nick not only prevented Plaintiff from resolving the issues, she
further demoted Plaintiff in a cruel and humiliating manner (See E-mail chain attached
hereto as Exhibit D).

On luly 25, 2017 Plaintiff updated l\/lr. Allison about Status of the vendor fraud as was
requested of her. Moreover, she complained to l\/Ir_ Allison about the retaliation she was
subjected to by Ms. Nick_ (See E-mail chain attached hereto as Exhibit E),

On July 27, 2017 Mr. Allison informed Plaintiff that the company was opening a formal

internal investigation He insinuated that Plaintiff” s managers were being investigated by

- 10 ol`3l -
()BElDY & ASSOCIATF.S, i’. A.

Kolosova vi Office Depot et al
COMPI,AINT FOR DAMAGES

148

 

Ca.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

40

41.

42.

44.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 11 oll 48

ordering Plaintiff not to disclose the existence of the investigation to Ms Nick, Mr.
Sambu or Mr. Chelasani. (See E-mail chain attached hereto as Exhibit F)_

From early August 2017 through early September 2017 Plaintiff met on three separate
occasions with VP Chief Audit Executive l\/ls. Jennifer Goschke1 the individual assigned
by Mr. Allison to conduct the formal investigation (See E-mail chain attached hereto as
Exhibit G). Plaintiff cooperated fully with all aspects of the investigation as requested
On or about August 19, 2017, the company substantially increased the retaliation they
subjected Plaintiff to by placing her and her family in harm’s way. Plaintiff received a
threatening phone call from an anonymous male on her home phone number that is
known to a very small circle of family members The man on the phone asked for Tanya.
Plaintiff stated it was she who had answered He responded, “You should think about
your 6 children”. Plaintiff, frightened by the threat, immediately hang up.

Plaintiff informed Ms, Goschke about the incident the next day. Ms. Goschke promised
she would look into who had leaked Plaintiff’s findings and stated she informed Chief
Compliance Officer Ms Katrina Lindsey about the threat Plaintiff received over the
phone.

On September 5, 2017 Ms. Goschke claimed that the investigation had run its course and
there was no way to prove that any Office Depot executives had received any kickbacks
or were involved in any way_ She further retaliated against Plaintiff by suggesting
Plaintiff contact HR to discuss “other opportunities” at the company Moreover, in an
effort to mussel Plaintiff she demanded that Plaintiff stop using the “inflammatory term
fraud”.

Thereafter, on September 5, 2017 Plaintiff sent an email to Mr. Allison and Defendant

Office Depot CEO Smith informing them about the situation with the internal

- ll of31 -
OBF.IIDY & ASSOClA'l`ES, P. A.

Kolosova v. Office Depol et al.
COl\/[PLAINT FOR DAMAGES

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

45.

46_

47.

48_

Cal<;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 12 olf 48

investigation and suggested that they perform an external investigation (See E~mail chain
attached hereto as Exhibit H). Plaintiff was following the directions she had been given
by Mr. Allison to keep him informed and to not go away

While assessing financial damages caused by McKinsey to Office Depot’s marketing
campaigns, Plaintiff discovered the existence of a fraud-prone accounting environment in
the Office Depot database On September 11, 2017 Plaintiff reported to Chief
Accounting Officer Mr. Michael Rabinovitch her findings that she discovered in the
company database Plaintiff reported that the existing error-prone computing environment
could be used to manipulate earnings Plaintiff was concerned that earnings manipulation
was a clear violation of Sarbanes Oxley law. Plaintiff never received a response from
Mr. Rabinovitch.

On September 14, 2017 Plaintiff was informed that Ms. Nick left the company Ms Jerri
DeVard then was hired as Chief Marketing Officer and Plaintiff was assigned to report to
VP Marketing Ms. Lukana Justin.

On September 19, 2017 during a one on one meeting with Ms Justin, Ms Justin
declared that she was “excited over the moon” that Ms Nick was forced to leave the
company She stated that Plaintiff was the most educated, skilled and experienced
professional in analytics and modeling teams in Office Depot and that the company had
deeply suffered from working with Ms. Nick.

At that meeting Ms. Justin asked Plaintiff to prepare road map and a plan of what should
be done to move forward and to fix existing situation in marketing department Ms Justin
described the marketing department as a “disaster” multiple times During this meeting
Plaintiff explained the situation with the vendor and asked Ms. Justin to make sure that

Office Depot’s marketing department no longer use the vendor predictive models

- 12 01`31 -
OBEIDY & ASSOCLATES_ P. A.

Kolosova v. Office Depot et al
COMPLAINT FOR DAMAGF,S

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

49.

50.

51.

52.

Casle 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 13 ojf 48

Plaintiff informed Ms. Justin about the complaints she had made to top executives
Following the meeting Ms Justin sent an e-mail to Mr. Chelasani asking him to provide a
list of all current uses of the vendor models Mr. Chelasani lied when he responded with
an email stating that the vendor models were not in use any more

Plaintiff, also on the e-mail chain, corrected the misstatement of fact citing multiple
examples where the vendor models were still being used by Offi ce Depot. Mr. Chelasani
responded that he did not have time to correct the situation because he had other
priorities

On or about September 27, 2017 at a meeting with Ms. Justin and Sr. IT Di rector Mr.
Prakash Sankaran, Plaintiff presented a detailed plan for Actionable Analytics
Framework. Mr. Sankaran exclaimed that he never heard about such an outstanding
actionable analytical development He stated that no other analytical vendors he
interviewed proposed anything that came close to being as comprehensive as Plaintiff’ s
plan F-urthermore, he recommended that there was no way to move forward without first
to deploy Plaintiff’ s proposal

Around the same time, Plaintiff was invited to a meeting to discuss the estimation of
Customer Life Value (CLV). The CLV estimations were used for the purpose of creating
hyper-targeted marketing campaigns During the meeting, the team complained about the
poor campaign performance and the team voiced their suspicion that the CLV did not
advance correct estimates

Plaintiff informed the team that the estimations the team used were based on the
fraudulent McKinsey models The team asked Plaintiff for a quick fix solution to the
problem The following day Plaintiff came up with a proposal designed to correct the

CLV estimation Plaintiff’ s proposal required a few weeks to implement

- 13 of 31 -
OB};`IDY & ASSOClA'l`l;`S, 1’. A.

Kolosova v. Office l)epot et al.
COMPI,AINT FOR DAl\/[AGES

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

54_

55_

56_

57_

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 14 o

The team then asked Plaintiff to provide them with a solution to fix the vendor model
Plaintiff responded to the team’s request explaining that Defendant McKinsey &
Company’s model could not be fixed and she cited the necessary facts to support her. The
team abruptly stopped any further communication with Plaintiff

On October 04, 2017 Plaintiff met with Chief Compliance Officer Ms Katrina Lindsey.
During the meeting, Ms. Lindsey said that Chief Accounting Officer l\/[r. Rabinovitch had
forwarded Plaintiff s September 11, 2017 email_ Ms. Lindsey then tried to convince
Plaintiff that other retail organizations were doing the same type of accounting Plaintiff
explained that what was being done was wrong and that there was an easy way to fix the
problem in the database Plaintiff tried to explain how the simple fix would ensure the
integrity of the earnings calculation Ms. Lindsey responded by claiming she would
consult with her friend at l\/Iichaels, Inc. Plaintiff was puzzled as to why she would not
ask someone within the company Ms Lindsey promised she would meet with Plaintiff
in two weeks

As a follow up to the meeting with Ms. Lyndsey, on October 04, 2017 Plaintiff sent her
an email with detailed explanation of how the earnings manipulations could be performed
in the existing computing accounting environment Plaintiff also forwarded this email to
Ms. Justin Ms. Justin asked some follow up questions in a responding email.

The next day Ms. Justin asked Plaintiff into her office to explain more At this meeting
Plaintiff explained to Ms. Justin more about the error-prone computing environment that
allows the company to manipulate earnings Specifically, the program allowed Office
Depot to misrepresent the cost of revenue in the company’s SEC filings Ms. Justin told
Plaintiff that Mr. Rabinovich was her good friend and she would talk to him and arrange

a meeting between Plaintiff and Mr. Rabinovitch. Such a meeting never happened

- 14 of3l -
OBEIDY & ASSOCIATES, P. A.

Kolosova v. Office Depot et al.
COMPLAINT FOR DAMAGES

1148

 

5 59_

10

11

12

13

14

15

16

17

18

19

20

21 62.

22

23

24

25

26

27

28

 

 

60.

61.

63.

Ca$e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 15 o

On October l l, 2017, Plaintiff met with Mr. Allison to update him on her progress
During the meeting he indicated he too had made substantial progress with his
investigation into wide-spread fraud within Office Depot. Moreover, he indicated he was
continuing to gather information and he asked Plaintiff to do the same

On October 12, 2017 Plaintiff was invited to a meeting with Mr. Allison and VP 11 Mr.
Andy Parry. Mr. Allison explained that he needed Mr. Parry to review Defendant
McKinsey & Company’s works delivered to the company so that he could make a case
for a refund and for damages caused by the use of the fraudulent models

The next day, on October 13, 2017, Mr. Allison was fired by Defendant Office Depot
CEO Smith_ Mr. Allison told Plaintiff a few days after his termination that on October 12,
2017 he had sent an email Defendant Office Depot CEO Smith providing him with an
update about the vendor fraud and ways to remediate the fraud Mr. Allison told Plaintiff
that he never heard anything from CEO Smith regarding that email Mr. Allison wrote to
Plaintiff that he did not “have much faith in what [was] going on [at Office Depot]”

On October 17, 2017, Defendant Office Depot retaliated against Plaintiff by terminating
her employment At approximately 4;00 pm Ms. Justin’s Administrative Assistant
informed Plaintiff that her meeting with Ms. Justin was moved to another location
Plaintiff went to that room where she found an HR representative and Ms Justin l\/Is
Justin informed Plaintiff that her position was eliminated and left the room

The HR representative provided Plaintiff with various documents Plaintiff again
complained to the HR representative that the company was violating Sarbanes-Oxley, a
Federal law that protects Plaintiff from the retaliation and termination l-IR representative
said that she did not know anything about it

Plaintiff was not allowed to pick up her personal belongings from her work place and

- 15 of3l -
OBE]DY &. ASSOCIA'[`ES, P. A.

Kolosova v. Office Depot et al
COM]"LATNT FOR DAMAGES

 

1148

10

11

12

13

14

15

16

17

18

20

21

22

23

24

25

26

27

28

 

 

64.

65.

66.

67.

68.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 16 cf 48

another HR representative brought Plaintiff her backpack. Plaintiff was escorted by an

HR representative to the exit

FIRST CAUSE OF ACTION
Whistleblower Retaliation
in Violation of Sarbanes-Oxley Act
- As against Office Depot~

Plaintiff repeats and realleges each and every allegation in Paragraph 1 through 63
above, as though fully set forth at length herein, excepting those allegations which are
inconsistent with this cause of action

At all material times Section 806 of the Sarbanes Oxley Act of 2002 was in effect and
binding on Defendant Office Depot.

Section 806 of the Sarbanes Oxley Act of 2002 prohibits employers such as Defendant
Office Depot from discharging constructively discharging demoting, threatening
harassing or in any manner discriminating or retaliating against any employee because
he or she provided informationJ caused information to be provided, or assisted in an
investigation by a federal regulatory or law enforcement agency, or an internal
investigation by the company relating to alleged mail fraud, wire fraud, bank fraud,
securities fraud, violations of SEC rules and regulations or violations of federal law
relating to fraud against shareholders

In addition, Section 806 of the Sarbanes Oxley Act of 2002, states that an employer may
not discharge or in any manner retaliate against employee because he or she filed,
caused to be filed, participated in, or assisted in a proceeding relating to alleged mail
fraud, wire fraud, bank fraud, securities fraud, violations of SEC rules and regulations or
violations of federal law relating to fraud against shareholders

If an employer takes retaliatory action against an employee because he or she engaged in

- 16 of3l -
OBElDY & ASSOC]ATFS. 1’. A.

Kolosova v. Office Depot et al
COWI iAlN"l` FOR DAMAGES

 

Ca.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

69.

70.

71.

72.

73.

74_

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 17 o

any of these protected activities, the employee can file a complaint with the Secretary,
United States Department of Labor, Occupational Safety and Health Administration
(“OSI-IA”).

Plaintifffiled a timely whistleblower complaint with OSHA (Complaint Number 4-
1050-18-096), and 180 days have elapsed since filing that complaint on February 12,
2018 (See Exhibit “A”, OSHA Complaint)

No decision has been issued by OSHA, and Plaintiff has not been the cause of any delay
in the issuance of a decision Accordingly, Plaintiff is entitled to seek relief in district
court by jury trial Moreover, no predispute arbitration agreement shall be valid or
enforceable, if the agreement requires arbitration of a dispute arising under this section
of SOX.

Defendant harassed, threatened, discharged and retaliated against Plaintiff, after Plaintiff
made oral and written complaints regarding what she reasonably believed to be illegal
and/or unlawful conduct in violation of state and federal statutes, rules and regulations
Plaintiff is informed and believes, and thereon alleges that because of her making
complaints regarding Defendant’s illegal conduct and/or conduct Plaintiff reasonably
believed to be illegal, Plaintiff was demoted, subjected to a hostile working environment
and/or discharged from her employment and/or otherwise discriminated and retaliated
against by Defendant after she had made the aforesaid complaints about illegal conduct
As a direct and proximate result of Defendant’s actions, Plaintiff has suffered and will
continue to suffer pain and mental anguish and emotional distress

Plaintiff has further suffered and will continue to suffer a loss or earnings and other
employment benefits, damage to her reputation for which Plaintiff is entitled to general

compensatory damages in amounts to be proven at trial

- 17 of 31 -
OBEIDY & ASSOCIATES, P. A_

Kolosova v. Office Depot et al.
COMl)LAlNT F()R DAMAGES

148

 

 

Ca

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

75.

76.

77.

78

79.

80.

tie 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 18 o

Defendant’s actions constituted a willful violation of the above-mentioned federal laws
and regulations As a direct result, Plaintiff has suffered and continues to suffer
substantial losses related to the loss of wages and is entitled to recover costs and
expenses and attorney’s fees in seeking to compel Defendant to fully perform its
obligations under state and federal law_, in amounts according to proof at time of trial
The conduct of Defendant described hereinabove was outrageous and was executed with
malice, fraud and oppression, and with conscious disregard for Plaintiff’ s right ., and
further, with the intentJ design and purpose of injuring Plaintiff

Defendant committed the acts alleged hereinabove by acting knowingly and willfully,
with the wrongful and illegal deliberate intention of injuring Plaintiff, from improper
motives amounting to malice, and in conscious disregard of Plaintiff’ s rights Plaintiff is
thus entitled to recover nominal, actual, compensatory, punitive and exemplary damages
in amounts according to proof at the time of trial, to the full extent allowable by law, in
addition to any other remedies and damages allowable by law.

As a proximate result of the actions and conduct described hereinabove, which
constitute violations of Section 806 of the Sarbanes-Oxley Act of 2002 (“SOX”),
Plaintiff has been damaged in an amount according to proof at the time of trial, and

seeks make-whole relief, civil penalties and attorney’s fees against Defendant pursuant

to SOX.
SECOND CAUSE OF ACTION
Violation of the Florida Whistleblower Act
~ As against Office Depot-

Plaintiff repeats and realleges each and every allegation in Paragraphs 1 through 63

above, as though fully set forth at length herein

This is an action for violation of Florida’s Private Sector Whistleblower Act, Fla. Stat_

- 18 01`31 4
OBEIDY & ASSOCIATES, 1’. A.

Kolosova v, Office Depot et al
COM])LAIN '1` f`OR DAMAGES

`148

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

81.

82.

82.

83.

84.

85.

Ca.;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 19 ojt 48

§§448102(3 ), which provides in pertinent part as follows

Prohibitions - An employer may not take any retaliatory personnel action against an

employee because the employee has

(3) Objected to, or refused to participate in, any activity, policy, or practice of the
employer which is in violation of a law, rule, or regulation

At all times material hereto, Plaintiff was an Employee as defined by Fla. Stat.
§448.10`1(2).

At all times material hereto, Defendant Office Depot was an Employer as defined by
Fla_ stat §448,101(3).

At all times material hereto1 Plaintiff held the title of Lead Data Scientist. Plaintiff was
qualified for the position she held and worked diligently during her employment
Throughout her employment with Defendant Office Depot, Plaintiff issued several
lawful complaints to her direct supervisor, Office Depot’s CEO and Office Depot’s
Human Resources, about her believe that Office Depot violated Sarbanes Oxley Act by
engaging in financial fraud and by manipulating accounting records which affected
stock prices

Defendant Office Depot violated Florida’s Private Sector Whistleblower Act when it
retaliated against Plaintiff for issuing the above-mentioned lawful complaints objecting
to a violation of SOX, through the conduct of its agents, servants, and/or employees

The retaliatory conduct taken against Plaintiff by Defendant Office Depot, included,

but was not limited to:

- 19 of`3l -
OBEIDY & ASSOClATF.S, P. A.

Kolosova v. Office Depot et al.
COMPLAINT FOR DAMAGES

 

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 20 o

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

86.

87.

88

89

a. Humiliating Plaintiff;
b. Reducing Plaintiff’ s responsibilities;
c. Hindering Plaintiff" s investigation of the fraudulent predictive models provided

by Defendant McKinsey and the effects on Office Depot;

d. C-ausing Plaintiff and her family to be threatened;
e. Unlawfully terminating Plaintiff’ s employment

Defendant Office Depot’s actions as described above in Paragraphs 1-63 violated Fla.
Stat. §448. 102 and constituted a prohibitive employment practice

As a direct and proximate result of Defendant Office Depot’s acts as alleged herein,
Plaintiff has suffered and continues to suffer substantial economic damages, including
but not limited to, losses incurred in seeking subsequent comparable employment,
earnings, deferred compensation earning capacity, back pay and front pay, past,
present, and future income, compensatory damages lost wages and other employee
benefits, all to his detriment, in an amount to be shown according to proof

As a further proximate result of Defendant Office Depot’s acts as alleged herein,
Plaintiff has suffered and continues to suffer emotional distress, ongoing sadness,
nausea, nightmares, irritability, nervousness anxiety, loss of confidence, grief,
sleeplessness, helplessness, hopelessness, fear, humiliation, loss of self-esteem, and
other general damages all to his detriment, in an amount to be shown according to
proof

Moreover, as a result of Defendant Office Depot’s acts as alleged lierein, Plaintiff is

entitled to reasonable attorneys’ fees and costs of said suit as provided by Fla. Stat.

- 20 of 31 -
()Blill)Y & ASSOCIATES, P. A.

Kolosova v. Office Depot et al.
COMPLA[NT FOR DAMAGES

1148

 

Cas;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 21 olf 48

6 91.

10
11 9o
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

94.

95.

§448_104_

Plaintiff demands judgment against Defendant Office Depot, a trial by jury on all issues
so triable and any other relief this Court deems just and proper.

THIRD CAUSE OF ACTION
(Deceit - as against Defendant Office Depot)

Plaintiff repeats and realleges each and every allegation in Paragraph 1 through 63
above, as though fully set forth at length herein

Defendant Office Depot fraudulently deceived Plaintiff by representing to her that she
would be protected from retaliation if she investigated the fraudulent predictive models
purchased for tens of millions of dollars by Office Depot from Defendant Mckinsey

At the time Defendant made the above representations Defendant was aware but did not
inform Plaintiff that did not intend to protect Plaintiff from being retaliated against for
investigating Office Depot’s use of the McKinsey fraudulent predictive models This
fact was not obvious and was not known to Plaintiff

As a direct and proximate result of Defendant Office Depot’s acts as alleged herein,
Plaintiff has suffered and continues to suffer substantial economic damages including
but not limited to, losses incurred in seeking subsequent comparable employment
earnings deferred compensation, earning capacity_, back pay and front pay, past, present,
and future income, compensatory damages lost wages and other employee benefits all
to his detriment, in an amount to be shown according to proof

As a further proximate result of Defendant Office Depot’s acts as alleged herein,
Plaintiff has suffered and continues to suffer emotional distress ongoing sadness,
nausea, nightmares irritability, nervousness anxiety, loss of confidence griefJ

sleeplessness, helplessness, hopelessness fear, humiliation, loss of self-esteem, and

- 21 01`31 -
OBEIDY & ASSOCl/\TES, P. A.

Kolosova v. Office l)cpol et al.
COMPLAINT FOR DAMAGES

 

3 96.

97.

10 9a

11
12
13 99.
14

15

16 100.

17

15 ior_

19

20

21

22

23

24

25

26

27

28

 

 

102_

103.

alpa 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 22 cf 48

other general damages all to his detriment in an amount to be shown according to
proof.
Plaintiff demands judgment against Defendant Office Depot, a trial by jury on all issues

so triable, and any other relief the Court deems just and proper

FOURTH CAUSE OF ACTION
Negligent Misrepresentation -
as against Defendant Office Depot

Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 63
above, as though fully set forth at length herein

Defendant Gerry Smith was acting within the course and scope of his employment with
Defendant Office Depot when he made a false representation of a material fact to
Plaintiff

Defendant Gerry Smith promised Plaintiff that she would not be subjected to any
retaliation for making a lawful complaint regarding a violation of SOX and for
continuing to investigate the use of Defendant McKinsey’s fraudulent predictive models
The aforementioned representations were, in factJ false and Defendant Smith knew or
should have known them to be false

Defendant Gerry Smith made the representations set forth in Paragraph 99 as assertions
of fact

At the time the above-referenced representation was made by Defendant Smith to
Plaintiff, Plaintiff was ignorant of the falsity of Defendant’s representations and believed
them to be true

Had Plaintiff known the actual facts she would not have remained employed with

Defendant Office Depot or to have conducted the investigation into the McKinsey

- 22 of 31 -
OBEIDY &. ASSOCIATES, P. A.

Kolosova v, Office Depot et al
COM}’LAJNT 1"OR DAMAGF,S

 

Ca.;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 23 011 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

104.

105.

106.

107.

108

109.

fraudulent predictive models

Plaintiff’ s reliance on Defendant Offi ce Depot’s representations was justified as
Defendant Office Depot appeared to be a reputable and forthright organization and
appeared to possess a good reputation in the community

As a direct and proximate result of Defendant Office Depot’s acts as alleged herein1
Plaintiff has suffered and continues to suffer substantial monetary losses and damages
incurred in seeking subsequent comparable employment earnings deferred
compensation, earning capacity, front pay, back pay and other employment benefits all
to her detriment, in an amount to be shown according to proof

As a further proximate result of Defendant Office Depot acts as alleged herein, Plaintiff
has suffered and continues to suffer Emotional Distress ongoing sadness, anger, mental
anguish, nausea1 nightmares, irritability, nervousness anxiety, grief, loss of confidence
sleeplessness, helplessness, hopelessness fear, embarrassment humiliation, loss of self-
esteem, and other general damages all to her detriment, in an amount to be shown
according to proof

Plaintiff demands judgment against Defendant Office Depot, a trial by jury on all issues

so triable and any other relief the Court deems just and proper

FIFTH CAUSE OF ACTlON
FEDUPTA -
as against Defendant McKinsey & Company

Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 63
above, as though fully set forth at length herein

Plaintiff was at all times material and relevant to this cause of action, an “interested

person” as defined by Section 501.203 (6).

- 23 of 31 4
OBEIDY &, ASSOCIATES, P. A.

Kolosova v. Office Depot et al
COMPerlNT FOR DAMAGES

 

Cat

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

110.

lll.

112.

113.

114.

ll5.

116.

117.

;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 24 o

Defendant McKinsey & Company was at all times material and relevant to this cause of
action, engaging in “trade or commerce” as defined by Section 501.203 (8),

Defendant McKinsey & Company was at all times material and relevant to this cause of
action, providing a “thing of value” to Defendant Office Depot as defined by Section
501 _203 (9) which included fraudulent predictive models used in determining which
customers should receive coupons and for which Defendant Office Depot paid in excess
of si4,000,000.

At all times material to this cause of action Defendant McKinsey & Company violated
Section 501 _204 (l) and (2) by engaging in unconscionable acts or practices and/or
unfair or deceptive acts or practices in the conduct of any trade or commercel

Defendant McKinsey & Company intentionally provided Defendant Office Depot with
fraudulent predictive models that did not perform as was required and expected

When Plaintiff confronted Defendant McKinsey & Company about the faulty models
Defendant McKinsey did not dispute or contest any of the findings Plaintiff brought to
Defendant McKinsey & Company’s attention

Plaintiff was terminated after she complained about the faulty models to Defendant
Office Depot.

Pursuant to Florida Statute Section 501 .211 Plaintiff is entitled to recover her actual
damages which she suffered as a result of Defendant McKinsey & Company’s violation
of Florida Unfair and Deceptive Practi ces Act

As a direct and proximate result of Defendant McKinsey’s acts as alleged herein, Plaintiff
has suffered and continues to suffer substantial monetary losses and damages incurred in
seeking subsequent comparable employmentJ earnings deferred compensation earning

capacity, front pay, back pay and other employment benefits all to her detriment, in an

- 24 of 31 -
()BEIDY & ASSOCIATES, l’. A.

Kolosova v. Office Depot et al.
COMPLAlNT FOR DAMAGES

 

143

Cas

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

118

119.

120.

121.

122.

123.

;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 25 o

amount to be shown according to proof.

As a further proximate result of Defendant McKinsey & Company’s acts as alleged

herein, Plaintiff has suffered and continues to suffer Emotional Distress ongoing sadness

anger, mental anguish, nausea, nightmares, irritability, nervousness anxiety, grief, loss of

confidence, sleeplessness helplessness hopelessness fear, embarrassment, humiliationJ

loss of self-esteem, and other general damages all to her detriment, in an amount to be

shown according to proof

l\/loreover, as a result of Defendant Office Depot’s acts as alleged herein, Plaintiff is

entitled to reasonable attorneys’ fees and costs of said suit as provided by Fla. Stat.

§501_2105_

Plaintiff demands judgment against Defendant Office Depot, a trial by jury on all issues

so triable and any other relief the Court deems just and proper

SIXTH CAUSE OF ACTION
Tortious Interference with At-will Employment
As Against Defendant Smith
Plaintiff repeats and realleges each and every allegation in Paragraphs l through 63
above, as though fully set forth at length herein
Plaintiff alleges that at all times relevant to this cause of actionJ Defendant Smith was
not acting within the course and scope of his employment but rather was acting with

ulterior purposes and without an honest belief that his actions would benefit his

employer, Defendant Office Depot
Defendant Smith tortiously interfered with Plaintiff’ s at-will employment by:

a. Allowing his subordinates to retaliate against Plaintiff after she complained

- 25 of 31 -
OBEIDY & ASSOCIATES1 13A A.

Kolosova v. Office Depot et al
COMPLAlNT FOR DAMAGES

148

 

Ca se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 26 olf 48

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

124

125.

126.

127_

128

about violations of SOX;
b. Allowing Plaintiff to be threatened with termination and with bodily harm
c. Allowing Plaintiff to be terminated for complaining about violations of SOX_
As a direct and proximate result of Defendant Smith’s acts as alleged herein, Plaintiff
has suffered and continues to suffer substantial economic damages including but not
limited to, losses incurred in seeking subsequent comparable employment, earnings
deferred compensation, earning capacity1 back pay and front pay, past, present, and
future income, compensatory damages lost wages and other employee benefits all to
her detriment, in an amount to be shown according to proof
As a further proximate result of Defendant Smith’s acts as alleged herein, Plaintiff has
suffered and continues to suffer emotional distress ongoing sadness, nausea,
nightmares, irritability, nervousness anxiety, loss of confidence, grief, sleeplessness,
helplessness hopelessness fear, humiliationJ loss of self-esteem1 and other general
damages all to her detriment in an amount to be shown according to proof
Plaintiff demands judgment against Defendant Smith, a trial by jury on all issues so
triable and any other relief this Court deems just and proper
SEVENTH CAUSE OF ACT_ION
Tortious Interf`erence with At-will Employment
As Against Defendant Justin
Plaintiff repeats and realleges each and every allegation in Paragraphs l through 63
above, as though fully set forth at length herein

Plaintiff alleges that at all times relevant to this cause of action, Defendant Justin was

- 26 of 31 4
OBEll)Y & ASSOCIATES, P. A.

.Kolosova v. Ol`lice Depot et al.
COMPLAINT FOR DAMAGES

 

Ca`

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

129

131.

132.

;e 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 27 o

not acting within the course and scope of her employment, but rather was acting with
ulterior purposes and without an honest belief that her actions would benefit her
employer, Defendant Office Depot

Defendant Justin tortiously interfered with Plaintiff"s at-will employment by:

a. Retaliating against Plaintiff for her complaints about violations of SOX;

b. Terminating Plaintiff without cause for complaining about SOX.
As a direct and proximate result of Defendant Justin’s acts as alleged herein, Plaintiff
has suffered and continues to suffer substantial economic damages including but not
limited to, losses incurred in seeking subsequent comparable employment, earnings
deferred compensation, earning capacity, back pay and front pay, past, present, and
future income, compensatory damages lost wages and other employee benefits all to
her detriment, in an amount to be shown according to proof
As a further proximate result of Defendant Justin’s acts as alleged herein, Plaintiff has
suffered and continues to suffer emotional distress ongoing sadness, nausea,
nightmares, irritability, nervousness anxiety, loss of confidence1 grief, sleeplessness
helplessness hopelessness fear, humiliation, loss of self-esteem, and other general
damages all to her detriment, in an amount to be shown according to proof
Plaintiff demands judgment against Defendant Justin, a trial by jury on all issues so
triable and any other relief this Court deems just and proper

EIGHTH CAUSE ()F ACT]ON

4Intenti0nal Inf]iction of Emotional Distress_
as against Defendant Office Depot

- 27 of 31 -
OBEIDY & ASSOClA'l‘ES, P. /\.

Kolosova v. ()l`iice Depot et al
COMPLAINT FOR DAMAGES

148

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

23

 

 

133.

134.

l35.

136_

l37.

140.

l4l.

se 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 28 of 48

Plaintiff repeats and realleges each and every allegation in paragraph l through 63, as

though fully set forth at length herein

Defendant Office Depot engaged in extreme and outrageous conduct when it allowed one
of its current or former employees to call Plaintiff on her home number and threaten her
and her family if she did not stop investigating the Defendant McKinsey & Company
fraudulent predictive models

The conduct set forth herein above was extreme and outrageous and an abuse of authority
and position of Defendant Office Depot.

Said conduct was intended to cause severe emotional distress or Was done in conscious
disregard of the probability of causing such distressl

Said conduct exceeded the inherent risks of employment and was not the sort of conduct
normally expected to occur in the workplace

Defendant Office Depot abused its positions of authority toward Plaintiff and engaged in
conduct intended to humiliate Plaintiff and to convey the message that he was powerless

to defend her rights

The foregoing conduct did in fact cause Plaintiff to suffer extreme and/or severe
emotional distress

As a proximate result of Defendants’ conduct, Plaintiff suffered embarrassment, anxiety,
humiliation1 sleeplessness, helplessness hopelessness loss of confidence and emotional
distress and will continue to suffer said emotional distress in the future in an amount to
be shown according to proof

As a further proximate result of Defendants’ conduct, Plaintiff has suffered and continues

to suffer substantial losses incurred in compensation and other employment benefits in

- 28 oi`3l -
OBEIDY & ASSOCI_A'I"ES, P. A.

Kolosova v. Office Depot et al.
COMPLAINT FOR DAMAGES

 

Ca

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

`

 

 

142

te 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 29 o

an amount to be shown according to proof

Plaintiff demands judgment against Defendant Office Depot, a trial by jury on all issues

so triable and any other relief this Court deems just and proper

PRAYER FOR RELIEF AS AGAINST DEFENDANT OFFlCE DEPOT

WHEREFORE, Plaintiff prays judgment against Defendant Office Depot as follows:

For economic damages including but not limited to, back pay and lost wages in an
amount to be shown according to proof, for the first through fourth causes of action;

For general damages and non-economic damages mental and emotional distress
damages damages for physical injuries and anguish, and other special and general

damages according to proof, for first through fourth causes of action and the eighth

causes of action.

F or an award of interest, including prejudgment interest, at the legal rate;
For costs and fees of suit herein incurred;
For such other and further relief as the Court may deem proper
PRAYER FOR RELIEF AS AGAINST DEFENDANT MCK]NSEY & COMPANY

WHEREFOREJ Plaintiff prays judgment against Defendant McKinsey & Company as

follows

For economic damages including but not limited to, back pay and lost wages in an
amount to be shown according to proof, for the fifth cause of action;

For general damages and non-economic damages mental and emotional distress

- 29 01`31 -
OBEIDY & ASSOCIATES, P. A.

Kolosova v. Office Depot et al.
COl\/|PI,AINT FOR DAMAGES

l48

 

Ca

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

L»J

le 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 30 o

damages damages for physical injuries and anguish, and other special and general
damages according to proofJ for first through fourth causes of action and the fifth cause
of action

F or an award of interest, including prejudgment interest, at the legal rate;

F or costs and fees incurred pursuant to Section 501 _2]05 of the Florida Statutes;

For such other and further relief as the Court may deem proper.

PRAYER FOR RELIEF AS AGAINST DEFENDANT SMITH

WHEREFORE, Plaintiff prays judgment against Defendant Smith as follows

For economic damages including but not limited toj back pay and lost wages in an
amount to be shown according to proof, for the seventh cause of action;

For general damages and non-economic damages mental and emotional distress
damages damages for physical injuries and anguish, and other special and general
damages according to proof, for the seventh cause of action

For an award of interest, including prejudgment interest, at the legal rate;

F or such other and further relief as the Court may deem proper

PRAYER FOR RELIEF AS AGAINST DEFENDANT JUSTIN

WHEREFORE, Plaintiff prays judgment against Defendant Justin as follows;

For economic damages including but not limited to, back pay and lost wages in an
amount to be shown according to proofJ for the sixth cause of action;

For general damages and non-economic damages mental and emotional distress

- 30 of 31 ~
OBElDY & ASSOCIATF.S, l’. A.

Kolosova v. Office Depot et al.
COMPLAIN'I` I"OR DAMAGES

 

48

Cat

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

le 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 31 o

damages damages for physical injuries and anguish, and other special and general
damages according to proof1 for the sixth cause of action
3. For an award of interest, including prejudgment interest, at the legal rate;

For such other and further relief as the Court may deem proper

Dated this 13‘“ day of September, 2018

Respectfully submitted,
OBEIDY & ASSOCIATES, P.A.

By: _/,s/A. Andr'ew ()Bel`dy
A_ Andrew ()Beidy, Esq.,

Attorney for Tanya Kolosova

- 3`l of 31 -
OBEIDY & ASSOCIATES, P. A.

Kolosova v. Office Depot et al.
COMPLAINT FOR DAMA GES

 

l‘48

 

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 32 of 48

EXH|B|T ”A”

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 33 of 48

U.S. Depa|'tment Of LabOI‘ Occupationa| Safety and Health Administration
At[anta Regional Office
Sam Nunn Federal Center
61 Forsyth Street, SW Room 6T50
At|anta, Georgia 30303
(678) 237-0400
(678) 237-0447 FAX

 

February 21, 2018

Tanya Kolosova (Complainant)

c/o A. Andrew OBeidy, Attorney of OBeidy & Associates, P.A.
2755 East Oakland Park Blvd., Suite 225

Fort Lauderdale, FL 33306

Re: Office Depot, Inc./Kolosova/4-1050-18-096

Dear Ms. Kolosova:

This is to acknowledge receipt of your complaint of discrimination filed under Section
806 of the Corporate and Criminal Fraud Accountability Act of 2002, Title VIII of the
Sarbanes-Oxley Act of 2002, 18 U.S,C. 1514A (SOX), which you filed on February 12,
2018. Please save any evidence bearing on your complaint, such as notes minutes
letters or check stubs etc., and have them ready when the investigator named below
meets with you. lt will be helpful for you to jot down a brief factual account of what
happened and to prepare a list of the names addresses and telephone numbers of the
potential witnesses together with a brief summary of what each witness should know.
The investigator will be contacting you in the near future.

We are also notifying the party named in the complaint about the filing of the complaint
and that we are conducting an investigation into your allegations We are providing the
named party with a copy of your complaint and information concerning the Occupational
Safety and Health Administration‘s responsibilities under the law. You may obtain a
copy of the pertinent statute, 29 CFR Patt 1980, at http://www.whistleblowers.gov. Upon
request, a printed copy of these materials will be mailed to you.

We request that any future documents that you submit to OSHA, you also send a copy to
the Respondent at the address below:

Office Depot, Inc.
6600 N. Military Trail
Boca Raton, FL 33496

If the information provided contains private, personally identifiable information about
individuals other than you, such information, where appropriate, should be redacted
before disclosure OSHA may contact the party directly for the unredacted copy, if

necessary

OSHA will provide to you (or to your legal counsel if you are represented by counsel, or
to your authorized representative) a copy of all of the respondent’s submissions to OSHA
that are responsive to your whistleblower complaint In addition, OSHA Will disclose to

' Oc€upmmnol
Sn|¢w and Health
Administr»|inri

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 34 of 48

the parties in this case any other information relevant to the resolution of the case,
because evidence submitted by the parties must be tested and the opposing party provided
the opportunity to fully respond. lf information provided contains personal, identifiable
information about individuals other than you, Such information, where appropriate, will

be redacted before disclosure

Attention is called to your right and the right of any party to be represented by counsel or
other representative in this matter ln the event you choose to have a representative
appear on your behalf, please complete the Designation of Representative form enclosed

and forward it promptly ,

All submissions and correspondence, including changes to your address or telephone
number should be made to following investigator:

Maria Colon, Regional Investigator
Office of the Whistleblower Protection Program
U.S. DOL-()SHA
1000 S. Pine Island Road, Suite 100
Fort Lauderdale, FL 33324-4029
(954) 423-0389 Office (954) 424-3073 Fax
(404) 772-6550 Cell
Email: colon.maria@dol.gov

You are expected to cooperate in the investigation of your complaint and failure to do so
may cause your complaint to be dismissed

Sincerely,

l _
/£',»¢-- 5 é,d.,
Gloria E. Colc’)n
Regional Supervisory Investigator

Enclosure: Designation of Representative

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 35 of 48

U.S DEPARTMENT OF LABOR
OCCUPATIONAL SAFETY AND HEALTH ADMINSTRATION

DESIGNA TION OF REPRESENTA TIVE

 

COMPANY NAME: Tanya Kolosova

CASE NUMBER: 4-1050-18-096

 

 

 

The undersigned hereby enters his appearance as representative in the above captioned
matter:

 

Representative’s Address and Zip Code

 

Signature of Representative

 

 

 

 

 

 

 

Type or Print Name
Title

( )

Area Code Telephone Number
Date

 

E-mail Address

 

 

 

 

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 36 of 48

United States ot Ameri ca

Department of Lab or
Occupational Safety and Health Administlation

 

(***THIS sTATEMENr DoEs Nor APPLY To MANAGEMENT_*M) I understand that this statement will
be held in confidence until such time as l may be called to testify in a court proceeding, at
which time it may be produced upon demand of opposing counsel Additionally, this statement
may be made available to other agencies if it will assist them in the performance of their statutory
functions This statement may be subject to disclosure only in accordance with applicable
statute(s) and agency policy TK Initial (~**THIS sTATEMENT boss Nor APPLY ro
MANAGEMENT.***)

llLQl(_]_LQf_QS_H_A£L: No person shall discharge or in any manner discriminate against any
employee because such employee has filed any complaint or instituted or caused to be instituted
any proceeding under or related to this Act or has testified or is about to testify in any such
proceeding or because of the exercise by such employee on behalf of himself or others of any

right afforded by this Act. TK lnitial (Applies to all)

Name; Tanya Kolosova erc oneidy and Aseociates PA Address; 2755 East Oak|and Park Blvd. Suite 225

Cify= FOH Laudefdale State: FL Zip:33306 Phnne/Email; andrew@obd|ega|.com

 

I ami/was (circle one) employed by: OfllCe Depot From: Elll§[] Z t0: 10/17/‘1 7
Pgsiti()n; l_eaCl Data SClSI'illSl Time in P()Siti()n; 5 mOS Supervis()r: DireClOl' Chelas$anl

 

I hereby swear or ajj'irm and say:

That l Was retalaitecl against and ultimately terminated for complaining about violations of Sarbanes Oxley
by Office Depot as indicated in the statement attached hereto Which it true and accurate to the best of my

kno\.v|ed`c_;el

"“"‘°"“““"“"` Initiais:_TK Page l of 12

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 37 of 48

Choose one of' the first two (2) statements:

Initial l have read and understand the foregoing statement of _ pages l have been given
the opportunity to make corrections Each page is numbered l have initialed each correction and

initialed or signed each page

OR
__Initial The foregoing statement of _ pages has been read to me i have been given the
opportunity to make corrections Any corrections have been read back to me Each page is
numbered I have initialed each correction and initialed or signed each page

AND
_Initial (Applies to all) l declare under penalty of perjury under the laws of the United
States of America that this statement is true and correct to the best of my knowledge l understand
it is a felony under 18 U.S.C. § 1001 to knowingly and willfully make a false statement or

omit material facts in relation to a federal investigation

Review this statement with each witness: l request that my statement be kept confidential to
the extent allowed by law - OR - initial here to waive confidentiality

 

Signature of Interviewee Date Investigator Signature Date

‘®SHA

"““"* Initials;_ Page _ of

uaw
m tamm mma-um

Case 9:18-cv-81229-D|\/||\/| Document 1 Eteer on FLSD Docl<et 09/13/2018 Page 38 of 48

`

     
     

LE fl A la
March 12, 2017

Maria Colon,

Regional Investigator

US Departrnent of Labor - OSHA
Fort Lauderdale Area Office

1000 S. Pine Island Road, Suite 100
Fort Lauderdale, Florida 33324

CONFIDENTIAL POSITION STATEMENT

Via e-mail to Maria Colon and Jason Nickerson, Assistant General Counsel, Office Depot;
Original to follow via U.S. Mail

Re: Tanya Kolosova’s Charge under Sec. 806 of the Sarbanes-Oxley Act
Dear Mrs Colon:

This firm represents Tanya Kolosova who was unlawfully terminated by Office Depot on
October ]7, 2017 after she engaged in protected activity under §806 of the Sarbanes-Oxley Act
(“SOX”). This letter is submitted on her behalf as a formal OSHA charge alleging unlawful retaliation

in violation of SOX.

In summary, Ms. Kolosova, is a renowned expert and published author in statistics and
analytical software development During her tenure at Office Depot, Ms. Kolosova made lawful
complaints about nonsensical statistical models which McKinsey & Company sold to Office Depot for
more than fourteen million dollars Ms. Kolosova also complained about Office Depot’s ability to
engage in earnings manipulations which could result in shareholder’s being defrauded After her
complaints were made, yet not taken seriously by high-level executives Ms_ Kolosova suffered from a
campaign of harassment and adverse actions including the altering of her work duties intimidation
tactics including threats of discipline, and threats of violence Ultimately, she was abruptly terminated

on October 17, 2017.

IlB l!..nlsux

Ms. Kolosova is a highly accomplished statistician and software engineer with
approximately thirty years’ experience in statistical modeling, forecasting, and computer software
development She received her Bachelor and Masters of Science in Mathematics and Systems
Analysis from the Institute of Electronics in 1985_

1111 iiill,) `t` di ..'4,13:`- fif,.il_ili‘-`i'i`l:f.li, l)...#1.
;>i'_<;'4 i;-; otto .tt\:n aunt not :i 7i=.\.- ann :~;z ariz 225
i-t;):< i' l at'i:\:-.n_ii-iii_i r';.:'.\iu:)\\.t=.:ar z:,z,;i->no>:i; .v.._<-i»z»:.<»:.:z-_i
transmit i-.: eis-s
..tNnnn\v./aoin')i,.r-;o,u..com

  

 

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 39 of 48

Ms. Kolosova performed her Ph.D_ research under supervision of Professor David M.
Steinberg at Mathematical department of Tel-Aviv University, Israel_ Ms. Kolosova worked as an
Assistant Professor of Statistics at Tel-Aviv University in Tel-Aviv, Israel, a Lecturer and
Researcher in the Department of Statistics at Simon Fraser University in Burnaby, Canada.

As an academic, Ms. Kolosova published over a dozen papers and reports in scientific
magazines and lnternational conferences Ms. Kolosova co-authored 2 books published by SAS
Institute in 1995 and 1998. One of her books is used in more than 20 universities globally.

Ms. Kolosova continued developing expertise in statistical modeling and analytics while
working in various capacities at YieldWise inc., Yahoo!, Nielsen, Interpublic Group of Companies
lnc_, and Investment Technology Group_, Inc_ Ms Kolosova’s analytical achievements were
featured in the article published in Forbes magazine in 2006.

Due to her phenom enal background and strong expertise, Ms. Kolosova was offered a
position at and began work for Office Depot Inc_ (“Offrce Depot” or “the company”) as Lead Data
Scientist on May 8, 2017. As part of her assigned duties at the company, Ms. Kolosova discovered
that one of the company vendors McKinsey & Company (“McKinsey” or “the vendor” hereinafter)
- formerly known as AOE pre-acquisition by McKinsey - was defrauding Office Depot.

Specifically, McKinsey was hired to develop statistical predictive models that would be used
in marketing campaigns to target Office Depot customers who have high propensity to buy Office
Depot’s products The vendor was also hired to develop models for creating personalized offers for
individual customers and to calculate customer life values for the purposes of engaging in effective

marketing campaignsl

Instead McKinsey provided the company with predictive models that constituted utter
statistical nonsense These models were absurd from the business point of view as well_ Specifrcally,

the issues in the predictive models included:

1) McKinsey decided to use the linear regression method to develop the predictive models The
regressors (explanatory variables) in the regression models were not statistically independentl
They correlated one with another to a higher degree than they correlated with the dependent
variable This violated a fundamental assumption of the regression method which led to false

and misleading results

2) To estimate regression coefficients McKinsey used data that contained negative sales, missing
values and questionable large sales values Mandatory data cleansing was not performed

3) McKinsey copied the same simple computer program multiple times and changed the name of
a dependent variable claiming they developed a new predictive model The computer
program code the vendor used can be easily copied from a basic statistical modeling and

programming textbook

4) ln their predictive model McKinsey used independent variables The variables used included
total sales for the first quarter of the year, total sales for the first half of the year and the total
sales for the entire year. ln so doing, McKinsey inflated total sales for the year by counting

2

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 40 of 48

sales for the first quarter three times and sales for the second quarter twice The variables
were thus dependent and correlated This too violated a fundamental assumption of the
regression method which led to false and misleading results and was nonsensical also from a

business perspective

5) Ms. Kolosova performed a test of the quality of prediction of the vendor models Ms.
Kolosova built a miss-classification table that is the gold standard for testing the quality of
predictive models She used the same data that was used by the vendor to estimate
coefficients of the predictive model Results show that out of 13,772 customers who made a
purchase in the company stores the vendor model predicted only 2 customers

On May 22_, 20171 at a face-to-face meeting with McKinsey representative Steven Clark, Ms.
Kolosova expressed her concerns and raised the above questions Mr. Clark responded by laughing
at Ms. Kolosova. He did not make any attempt to explain any of her questions or dispute any of her

preliminary findings

Shocked by the way Mr. Clark had responded Ms. Kolosova began to look into the specifics
of the McKinsey and Office Depot relationship ln so doing, Ms. Kolosova determined that
McKinsey had billed Office Depot two million dollars ($2,000,000) annually plus travel and more
than fourteen million dollars (314,000,000.00) from January 201 1 through October 2017 for work

they did not actually perform

After checking and double checking her findings regarding the vendor work, Ms. Kolosova
reported her findings to Director Mr. Ranjith Chelasani, Ms. Kolosova’s direct supervisor, and to Sr.
Director Mr. Slava Sambu_ Ms. Kolosova requested l\/lr. Chelasani and Mr. Sambu report the fraud
to the company General Counsel and to stop immediately using any predictive models developed by

the vendor

Remarkably, Mr. Chelasani and Mr. Sambu attempted to cover up the fraud claiming the
evidence Ms_ Kolosova had brought them was not convincing and that they could not inform
management or the team members that the work the vendor had tendered to the company was

wrong

Feeling that her concerns were being ignored, Ms. Kolosova decided to escalate the issue
On June 14, 2017 at 12: 14 Al\/l, Ms. Kolosova reported the fraud directly to Office Depot’s CEO,
Mr. Gerry Smith in an e-mail. (See Email to Mr. Smith Attached hereto as Exhibit A). That morning
at 10:47 AM, Mr. Smith responded asking his assistant to set up a meeting with Ms. Kolosova (See
Response Email Attached hereto as Exhibit A).

On June 19, 2017 Ms Kolosova met with CEO Mr. Smith in his office and presented him
with her preliminary findings of the vendor fraud Mr. Smith reviewed the findings during the
meeting and concluded aloud that the vendor was engaging in fraud CEO Mr. Smith then asked Ms.
Kolosova if she had presented her findings to her managers and how they responded

Ms Kolosova explained to Mr. Smith that her warnings were completely ignored and that
the company was continuing to use the corrupt and fraudulent predictive models in multi-million
dollars marketing campaigns resulting in immense financial damages to the company Ms Kolosova

.-,
.)

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 41 of 48

then confirmed that her direct supervisor’s refusal was documented in e-mails to Mr. Smith_ Mr.
Smith then called Chief Administrative Officer (CAO) Mr. Michael Allison to join the meeting

While waiting for Mr. Allison to join the meeting, Mr. Smith reviewed the correspondence
between Ms. Kolosova and her managers in regards to the vendor fraud ln the midst of reading the
e-mails Mr. Smith exclaimed, “this blows my mind_” And then clearly stated he would demand that

the vendor reimburse the company

When Mr. Allison arrived, Mr. Smith briefed him on Ms. Kolosova findings and on the
response by her managers The CEO clearly stated that the marketing team’s response was cover
up. CEO showed Mr. Allison the absurdity of the vendor predictive models including but not limited
to the wrongliil use of the same variables multiple times Mr. Smith then asked Mr. Allison to
protect Ms. Kolosova from any retaliation (As a matter of fact, the retaliation against l\/ls. Kolosova
started almost immediately after this meeting). Mr. Allison agreed, and he stated that he believed
that the cover up is worse than fraud itself He asked Ms. Kolosova to bring him all the materials for

his evaluation in order to make a decision about next steps

The following day, on June 20, 2017, Ms. Kolosova tendered all the evidence she had
gathered to Mr. Allison including email correspondences and the critical portions of the model
development work performed by McKinsey demonstrating fraudulent programing/modeling.
lmmediately thereafter, Ms. Kolosova began to be subjected to unlawful retaliation

During the same week that Ms. Kolosova reported her finding to the CE() and the CAO, Mr.
Chelasani and Mr. Sambu requested from Ms. Kolosova to prepare a presentation for SVP of
Marketing Ms. Diane Nick about current state of predictive modeling. Importantly, Mr. Sambu
specifically ordered Ms. Kolosova to lie about the findings claiming that there were “some minor
concerns” with predictive models instead of calling out the fraud and abuse

Ms. Kolosova refused to take part in any conspiracy to defraud Office Depot’s investors
(See Monday June 27, 2017 4:26 pm e-mail attached hereto as Exhibit B). Remarkably, Mr. Sambu
and Mr. Chelasani further retaliated against Ms Kolosova by assigning her the impossible task of
single-handedly developing a replacement model for the fraudulent predictive models - a task that
typically requires several individuals working for months Further they chastised Ms Kolosova
claiming that she was not doing job but refused to elaborate

On June 30, 2017 Ms_ Kolosova was asked to attend a meeting with Mr. Allison and Ms.
Nick. At the meeting, Ms. Kolosova explained her findings of the vendor fraud to Mr. Allison and
Ms. Nick. During the meeting Mr. Allison and Ms. Nick decided that Ms_ Kolosova would
perform a full investigation of the vendor The investigation would date back to the onset of the

relationship with McKinsey/AOE.

Ms. Kolosova immediately began the investigation She successfully gathered all
available agreements Statements of Work (SOWS)1 and invoices paid to the vendor She
reviewed the computer programs developed by the vendor She immediately confirmed from the
documents that McKinsey was engaging in fraud and suspected that some of Office Depot’s
executives may have been involved in the fraud Ms. Kolosova wondered how no other person
had discovered the frivolous models McKinsey had put into place for more than six years which

4

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docl<et 09/13/2018 Page 42 of 48

did not produce any viable results

On July 10, 2017 after completing the investigation she was tasked to undertake by Mr.
Allison, Ms. Kolosova presented the results of her investigation to l\/Is Nick. Ms. Kolosova’s

investigation yielded the following results

1) The vendor provided services to the company from 2011 through September 2017,

2) ln 2013 and 2014 the vendor did not submit an SOW and submitted invoices that lacked any
details or itemization

3) Deliverables in two SOWs for 2015 and an SOW for 2016 were identical

4) Again, in 2017 McKinsey did not submit an SOW and submitted invoices that lacked any
details or itemization

5) The predictive models that the vendor delivered were fraudulent and wrong.
6) The vendor was paid almost $14,000,000 for work it did not perform

7) Office Depot continued to use the fraudulent models after Ms Kolosova complained to CEO
Mr. Smith about the fraud

On July l 1, 2017 one day after Ms. Kolosova shared her finding with Ms. Nick, Ms. Nick
escalated the retaliation directed toward Ms. Kolosova. Ms_ Nick stripped Ms. Kolosova of all of her
responsibilities as a Lead Data Scientist, she excluded Ms. Kolosova from the modeling team Ms.
Nick also required Ms. Kolosova to report directly to her and directed her to move closer to Ms. Nick
offices so that Ms Nick could see what Ms. Kolosova was doing and who she was meeting with on a

daily basis

Remarkably, along with using the fraudulent McKinsey models Ms. Nick was also allowing a
McKinsey employee, Ms. Leann Thayaparan, to work on other mission-critical components of Office
Depot marketing campaigns Ms. Thayaparan was a recent college graduate without relevant analytical
experience work experience or significant education al experience Yet despite her clear lack of
qualification, Ms. Nick assigned Ms. Thayapara to develop analytical solutions for mission critical
marketing initiatives for a multi-billion-dollar organization Ms. Kolosova questioned the soundness of

this judgment with her superiors

On July 14, 2017 l\/ls. Kolosova met with Mr. Allison and shared the findings of her
investigation l\/Is. Kolosova detailed the retaliation she was subjected to by Ms. Nick. Ms. Kolosova
explained that the vendor fraud was easy to identify and it was almost impossible for Office Depot’s
marketing team to not have discovered the fraud that was being perpetuated for more than six (6) years
Ms. Kolosova then concluded that she believed SVP Marketing Nick, was covering up the vendor
fraud Mr. Allison responded that he believed that Ms. Nick was “in it”. He informed Ms. Kolosova
that he was taking over the matter and that although it might take him some time to resolve the issue he
wanted l\/Is. Kolosova “not to go anywhere”.

Case 9:18-cv-81229-DI\/|I\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 43 of 48

On July 17, 2017 as per Mr. Allison’s request, Ms. Kolosova informed l\/lr. Allison via e-mail
that nothing was being done to stop the use of the vendor fraudulent and wrong predictive models
(See July 17, 2017 e-mail attached hereto as Exhibit D.)

Two days later, on July 19, 2017 during a one on one meeting with Ms. Nick, l\/Is. Kolosova
was threatened with termination Ms. Nick demanded that Ms. Kolosova stop reporting that nothing
was being done to stop the use of the fraudulent models developed by the vendor. Ms. Nick told that
Ms. Kolosova could not “live here and complain that nothing was done. . .. Otherwise it will be a

problem”.

In essence, Ms. Nick was ordering Ms. Kolosova to not report what was happening with
respect to the vendor to CAO Mr. Allison; an order that directly contradicted the orders Mr. Allison
had given Ms. Kolosova At the same meeting, Ms. Nick demanded Ms. Kolosova develop a future-
looking plan for predictive modeling and marketing analytics l\/ls. Kolosova worked diligently and
came up with a solid plan for creating predictive models and marketing analysis Ms. Kolosova
tendered the plan to Ms. Nick later that same evening `

Two days later, on July 21, 2017 Ms. Kolosova met with Ms. Nick to discuss her
proposal Although Ms. Nick said that the proposals were “right on point”, she stated that there
were no funds to implement this plan Ms. Kolosova stated that she could implement the plan by
herself, but cautioned it would take more time if she did it on her own

Ms. Nick stonewalled ordering Ms. Kolosova not to perform the suggested corrective
tasks Instead, Ms. Nick stated that Ms. Kolosova should only engage in hiring people who
“will help [Ms Kolosova] think.” Ms. Nick not only prevented Ms. Kolosova from resolving
the issues, she further demoted Ms. Kolosova in a cruel and humiliating manner (See E-mail
chain attached hereto as Exhibit E).

On July 25, 2017 Ms. Kolosova updated Mr. Allison about status of the vendor fraud as
was requested of her. Moreover, she complained to Mr. Allison about the retaliation she was
subjected to by Ms. Nick. (See E-mail chain attached hereto as Exhibit F).

On July 27, 2017 Mr. Allison informed Ms. Kolosova that the company was opening a
formal internal investigation He insinuated that Ms. Kolosova’s managers were being
investigated by ordering Ms. Kolosova not to disclose the existence of the investigation to Ms.
Nick1 Mr. Sambu or Mr. Chelasani. (See E-mail chain attached hereto as Exhibit G).

From early August 2017 through early September 2017 Ms. Kolosova met with VP
Chief Audit Executive Ms. Jennifer Goschke, the individual assigned by Mr. Allison to conduct
the formal investigation on three separate occasions (See E-mail chain attached hereto as
Exhibit H). Ms. Kolosova cooperated fully with all aspects of the investigation as requested

On or about August 11, 20171 shortly after the first meeting with Ms. Goschke, Mr. Atif
Ahmad, the individual assigned to manage the vendor from 2013 through .lanuary 2017, visited
Ms. Kolosova’s Linkedln profile through Linkedln search Oddly, Ms. Kolosova had never
spoken to Mr, Ahmad given his departure from the company prior to Ms. Kolosova’s arrival
Additionally, Ms. Kolosova’s profile was not updated and did not indicate that she was

6

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 44 of 48

employed at Office Depot.

On or about August 19, 2017, the company substantially increased the retaliation they
subjected Ms. Kolosova to by placing her and her family in hami’s way. Ms. Kolosova
received a threatening phone call from an anonymous male on her home phone number that is
known to a very small circle of family members The man on the phone asked for Tanya Ms.
Kolosova stated it was she who had answered He responded, “You should think about your 6
children”. Ms. Kolosova, frightened by the threat, immediately hang up_ Clearly, someone from
Office Depot had contacted Mr. Ahmad and informed him about the investigation regarding

McKinsey defrauding Office Depot.

Ms. Kolosova informed Ms. Goschke about the incidents the next day, Ms. Goschke
promised she would look into who had leaked Ms. Kolosova’s findings to Mr. Ahmad and
stated she informed Chief Compliance Officer Ms. Katrina Lindsey about the threat Ms.
Kolosova received over the phone

On September 5, 2017 Ms. Goschke claimed that the investigation had run its course and
there was no way to prove that any Office Depot executives had received any kickbacks or were
involved in any way. She further retaliated against Ms. Kolosova by suggesting Ms. Kolosova
contact HR to discuss “other opportunities” at the company Moreover, in an effort to mussel
Ms. Kolosova she demanded that l\/ls. Kolosova stop using the “inflammatory term fraud”_

Thereafter, on September 5, 2017 Ms. Kolosova sent an email to Mr. Allison and Mr.
Smith informing them about the situation with the internal investigation and suggested that they
perform an external investigation (See E-mail chain attached hereto as Exhibit .l). Ms. Kolosova
was following the directions she had been given by Mr. Allison to keep him informed and to not

go away.

While assessing financial damages caused by McKinsey to Office Depot’s marketing
campaigns Ms. Kolosova discovered the existence of a fraud-prone accounting environment in
the Office Depot database On September 1 l, 2017 Ms. Kolosova reported to Chief Accounting
Officer Mr. Michael Rabinovitch about her findings that she discovered in the company
database Ms. Kolosova stated that existing error-prone computing environment can be used to
manipulate earnings Ms. Kolosova was concerned that earnings manipulation was a clear
violation of Sarbanes Oxley law_ Ms. Kolosova never received a response from Mr.

Rabinovitch.

On September 14, 2017 Ms. Kolosova was informed that Ms. Nick left the company
Ms. Jerri DeVard then was hired as Chief Marketing Officer and Ms. Kolosova was assigned to

report to VP Marketing Ms. Lukana Justin

On September 19, 2017 during a one on one meeting with Ms. Justin, Ms Justin
declared that she was “excited over the moon” that Ms. Nick was forced to leave the company
She stated that Ms. Kolosova was the most educated, skilled and experienced professional in
analytics and modeling teams in Office Depot and that the company had deeply suffered from

Working With Ms. Nick.

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 45 of 48

At that meeting Ms. Justin asked Ms. Kolosova to prepare road map and a plan of what
should be done to move forward and to fix existing situation in marketing department She said that
everything what is done is done wrong She described the marketing department as a “disaster”
multiple times During this meeting Ms. Kolosova explained the situation with the vendor and asked
Ms. Justin to make sure that Office Depot’s marketing department no longer use the vendor
predictive models Ms. Kolosova informed Ms. Justin about the complaints she had made to top

executives

Following the meeting Ms. Justin sent an e-rnail to Mr. Chelasani asking him to provide a list
of all current uses of the vendor models Mr. Chelasani lied when he responded with an email stating
that the vendor models were not in use any more Ms. Kolosova, also on the e-mail chain, corrected
the misstatement of fact citing multiple examples where the vendor models were still being used by
Office Depot. Mr. Chelasani responded that he did not have time to correct the situation because he
had other priorities Ms. Kolosova is informed and believes that Mr. Chelasani was not disciplined

for lying to Ms. Justin

On or about September 27, 2017 at a meeting with Ms. Justin and Sr. IT Director Mr. Prakash
Sankaran, Mr. Kolosova presented a detailed plan for Actionable Analytics Framework._ Mr. Sankaran
exclaimed that he never heard about such an outstanding actionable analytical development He stated
that no other analytical vendors he interviewed proposed anything that came close to being as
comprehensive as Ms. Kolosova’s plan Furthermore, he recommended that there was no way to move

forward without first to deploy Ms. Kolosova’s proposal

Around the same time1 Ms. Kolosova was invited to a meeting to discuss the estimation of
Customer Life Value (CLV). The CLV estimations were used for the purpose of creating hyper-
targeted marketing campaigns During the meeting, the team complained about the poor campaign
performance and the team voiced their suspicion that the CLV did not advance correct estimates

Ms. Kolosova informed the team that the estimations the team used were based on the
fraudulent McKinsey models The team asked Ms. Kolosova for a quick fix solution to the
problem The following day Ms. Kolosova came up with a proposal designed to correct the CLV
estimation Ms. Kolosova’s proposal required a few weeks to implement

The team then asked Ms. Kolosova to provide them with a solution to fix the vendor model
Ms. Kolosova responded to the team’s request explaining that the McKinsey model could not be
fixed and she cited the necessary facts to support her. The team abruptly stopped any further
communication with Ms. Kolosova

On October 04, 2017 Ms. Kolosova met with Chief Compliance Officer Ms. Katrina
Lindsey. During the meeting, Ms. Lindsey said that Chief Accounting Officer l\/lr. Rabinovitch had
forwarded Ms. Kolosova’s September l 11 2017 email Ms. Lindsey then tried to convince Ms.
Kolosova that other retail organizations were doing the same type of accounting

Ms. Kolosova explained that what was being done was wrong and that there was an easy
way to fix the problem in the database Ms. Kolosova tried to explain how the simple fix would
ensure the integrity of the earnings calculation Ms. Lindsey responded by claiming she would
consult with her friend at Michaels Inc. Ms. Kolosova was puzzled as to why she would not ask

8

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 46 of 48

someone within the company Ms. Lindsey promised she would meet with Ms. Kolosova in two
weeks

As a follow up to the meeting with Ms. Lyndsey, on October 04, 2017 Ms. Kolosova
sent her an email with detailed explanation of how the earnings manipulations could be
performed in the existing computing accounting environment Ms. Kolosova also forwarded this
email to Ms. Justin Ms. Justin asked some follow up questions in a responding email

The next day Ms. Justin asked Ms. Kolosova into her office to explain more At this
meeting Ms. Kolosova explained to Ms. Justin more about the error-prone computing
environment that allows the company to manipulate earnings Specifically, the program
allowed Office Depot to misrepresent the cost of revenue in the company’s SEC filings Ms.
Justin told Ms. Kolosova that Mr. Rabinovich was her good friend and she would talk to him
and arrange a meeting between MsA Kolosova and Mr. Rabinovitch. Such a meeting never

happened

On October 1 l, 2017, Ms. Kolosova met with Mr. Allison to update him on her progress
During the meeting he indicated he too had made substantial progress with his investigation into
wide-spread fraud within Office Depot. Moreover, he indicated he was continuing to gather
information and he asked Ms. Kolosova to do the same

On October 12, 2017 Ms. Kolosova was invited to a meeting with Mr. Allison and VP IT
Mr. Andy Parry. Mr. Allison explained that he needed l\/lr. Parry to review the vendor works
delivered to the company so that he could make a case for a refund and for damages caused by the

use ofthe fraudulent models

The next day_, on October 13, 2017_, Mr. Allison was fired by CEO Mr. Smith. Mr. Allison
told Ms. Kolosova a few days after his termination that on October 12, 2017 he had sent an email
CEO Mr. Smith providing him with an update about the vendor fraud and ways to remediate the
fraud Mr. Allison told Ms. Kolosova that he never heard anything from CEO Mr. Smith regarding
that email Mr. Allison wrote to Ms. Kolosova that he did not “have much faith in what [was] going

on [at Office Depot]”

On October 17, 2017J Office depot retaliated against Ms. Kolosova by terminating her
employment At approximately 4:00 pm Ms. Justin’s Administrative Assistant informed Ms.
Kolosova that her meeting with Ms. Justin was moved to another location Ms Kolosova went to
that room where she found an HR representative and Ms. Justin Ms. Justin informed Ms. Kolosova
that her position was eliminated and left the room

The HR representative provided Ms. Kolosova with various documents Ms. Kolosova again
complained to the HR representative that the company was violating Sarbanes-OxleyJ a F ederal law
that protects Ms. Kolosova from the retaliation and termination HR representative said that she did

not know anything about it.

Ms. Kolosova was not allowed to pick up her personal belongings from her work place and
another HR representative brought Ms. Kolosova her backpack. Ms. Kolosova was escorted by an
HR representative to the exit

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 47 of 48

Lead.LS.l;anda.l:d.

To establish a prima facie case of a SOX violation, “[a] claimant must show: (1) she
engaged in protected activity or conduct; (2) the employer knew of her protected activity; (3)
she suffered an unfavorable personnel action; and (4) her protected activity was a contributing
factor in the unfavorable personnel action.” Lockheed Martin Corp. v, Administrative Review
Bd., 717 F. 3d 1121, 1129 (10th Cir. 2013) (citations omitted).

Ms. Kolosova has satisfied all four elements and can easily make a prima facie claim
of SOX retaliation First, there is no disputing that Ms. Kolosova objected to a fraudulent
scheme to continue using a nonsensical predictive model and she objected to the manner in
which earning were potentially being manipulated Second, there is no disputing that all of
Ms. Kolosova’s direct supervisors as well as senior management at Office Depot were well
aware of her objections Third, there is no disputing that Ms. Kolosova was subject to adverse
employment actions when her duties were taken away, when she was prevented from looking
into other vendor misconduct when she was threatened with discipline up to and including
termination for doing her job and protecting the interests of the shareholders and when she
was ultimately terminated without cause Lastly there is no disputing that Ms. Kolosova has
alleged that the adverse employment actions she suffered Were motivated by her protected

activity

!.. lot

As in most employment cases, a pre-textual defense will most likely be asserted
claiming that Ms. Kolosova had performance issues This false assertion will be easily
rebutted by the facts Ms. Kolosova was never written up_ Ms. Kolosova was threatened with
both termination and violence Ms. Kolosova was terminated after she made several
complaints of shareholder fraud and earnings manipulation The proximity in time between
Ms. Kolosova’s complaints and her termination is a critical fact which will overcome any
pretextual reason claimed for her unlawful termination

Cant:l.us.inn

In conclusion, Ms. Kolosova respectfully asks OSHA to accept this charge of
unlawhil retaliation under SOX.

As a final point, it is important to note that, in light of SOX jurisprudence the
complaints made by Ms. Kolosova need only be found to be a contributing factor to the
decision to fire her. 29 C.F.R. §1980.104(e)(2); Bechfel v. Admr`ni.s'tmn`ve Revr'ew Board, 710
F.3d 443_, 447 (2d Cir_ 2013). Even if her superiors had valid complaints about her work
performance it would not be sufficient to defeat her claim under SOX because her termination
was clearly motivated by her protected activity

Ms. Kolosova wishes to be made whole As a result of her unlawful termination_, l\/ls
Kolosova has suffered, and will continue to suffer1 economic loss, including salary, bonuses
and all the benefits she would have received as an employee of Office Depot. She has also

10

Case 9:18-cv-81229-D|\/||\/| Document 1 Entered on FLSD Docket 09/13/2018 Page 48 of 48

suffered significant emotional distress humiliation, and damage to her reputation Her
termination is expected to have a materially adverse impact on her future career prospects Ms.
Kolosova has incurred significant legal fees for which she must receive compensation

Respectfully submitted,

NW §§u'a:/¢

Andrew OBeidy, Esq_ Kttorney for
Tanya Kolosova

 

ll

